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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
                                                   §
 VS.                                               §           CASE NO. 1:13-CR-69(1)
                                                   §
                                                   §
 ANGELITA ALVAREZ DELGADO                          §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28

 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On December 6, 2013 this case came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by the Defendant, Angelita Alvarez Delgado, to Count One of the First

 Superseding Indictment. Count One alleges that on or about June 21, 2013, in the Eastern District

 of Texas and elsewhere, Angelita Alvarez and her co-defendant did, in violation of a statute, rule and

 order issued under a statute, knowingly attempt to provide to an inmate of a federal prison a

 prohibited object, namely a mixture or substance containing methamphetamine and “actual”

 methamphetamine, in violation of 18 U.S.C. § 1791(a)(1).

        The Defendant entered a plea of guilty to Count One of the First Superseding Indictment into

 the record at the hearing. After conducting the proceeding in the form and manner prescribed by



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 Federal Rule of Criminal Procedure 11, the undersigned finds:

          a.        That the Defendant, after consultation with her attorney, has knowingly, freely and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court.

          b.        That the Defendant and the Government have entered into a plea agreement which

 was disclosed and addressed in open court, entered into the record, and placed under seal. The

 Defendant verified that she understood the terms of the plea agreement, agreed to the Government’s

 summary of the plea agreement, and acknowledged that it was her signature on the plea agreement.

 To the extent the plea agreement contains recommendations and requests pursuant to FED. R. CRIM.

 P. 11 (c)(1)(B), the court advised the Defendant that she has no right to withdraw the plea if the

 Court does not follow the particular recommendations or requests. To the extent that any or all of

 the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or (C), the undersigned advised the

 Defendant that she will have the opportunity to withdraw her plea of guilty should the Court not

 follow those particular terms of the plea agreement.1

          c.        That the Defendant is fully competent and capable of entering an informed plea, that


          1
            “(3) Judicial Consideration of a Plea Agreement.
 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the extent
 the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in Rule
 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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 the Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is made freely, knowingly, and voluntarily. Upon addressing the Defendant personally

 in open court, the undersigned determines that the Defendant’s plea is knowing and voluntary and

 did not result from force, threats or promises (other than the promises set forth in the plea

 agreement). See FED. R. CRIM. P. 11(b)(2).

         d.      That the Defendant’s knowing and voluntary plea is supported by an independent

 factual basis establishing each of the essential elements of the offense and the Defendant realizes that

 her conduct falls within the definition of the crimes charged under 18 U.S.C. § 1791(a)(1).

                                   STATEMENT OF REASONS

         As factual support for the Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis and Stipulation. In support, the Government would prove that Angelita Alvarez

 Delgado is one and the same person charged in the First Superseding Indictment and that the events

 described in the First Superseding Indictment occurred in the Eastern District of Texas and

 elsewhere. The Government would also have proven, beyond a reasonable doubt, each and every

 essential element of the offense as alleged in Count One of the First Superseding Indictment through

 the testimony of witnesses, including expert witnesses, and admissible exhibits. In support of the

 Defendant’s plea, the undersigned incorporates the proffer of evidence described in detail in the

 factual basis and stipulation, filed in support of the plea agreement.

         The Defendant, Angelita Alvarez Delgado, agreed with and stipulated to the evidence

 presented in the factual basis. Counsel for the Defendant and the Government attested to the

 Defendant’s competency and capability to enter an informed plea of guilty. The Defendant agreed

 with the evidence presented by the Government and personally testified that she was entering her



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 guilty plea knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of the Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the First Superseding Indictment. It is also

 recommended that the District Court conditionally accept the plea agreement pending review of the

 presentence report. Accordingly, it is further recommended that Angelita Alvarez Delgado be finally

 adjudged guilty of the charged offenses under Title 18, United States Code, Section 1791(a)(1).

        If the plea agreement is rejected and the Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to the Defendant than that contemplated by the plea

 agreement. The Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. The Defendant has the right to allocute before the District Court

 before imposition of sentence.

                                           OBJECTIONS

        Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

 days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 1(a),

 6(b), and 72(b). A party’s failure to object bars that party from: (1) entitlement to de novo review

 by a district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d

 275, 276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

 unobjected-to factual findings and legal conclusions accepted by the district court, see Douglass v.

 United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional

 safeguards afforded by Congress and the courts require that, when a party takes advantage of his


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 right to object to a magistrate’s findings or recommendation, a district judge must exercise its

 nondelegable authority by considering the actual evidence and not merely by reviewing and blindly

 adopting the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620

 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



      SIGNED this 10th day of December, 2013.




                                                   _________________________
                                                   Zack Hawthorn
                                                   United States Magistrate Judge




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